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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )
          v.                        )                 4:06CR3023
                                    )
CHARLES BOWERS,                     )
FREDRICK ROBERTSON and              )
SHAWN TULL,                         )                    ORDER
                                    )
                Defendants.         )
                                    )
                                    )


     IT IS ORDERED,

     The motion of David W. Stempson to withdraw as counsel for
plaintiff, filing 56, is granted and Bruce W. Gillan shall be
lead counsel for the remainder of the case and trial.

     DATED this 30th day of October, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
